Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 1 of 18 PageID #:7




                        EXHIBIT 1
              Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16
                                                           '1     Page 2 of 18 PageID #:8
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                                IN THE CIRCUIT COURT OF COOK COUNTY ILLINOIS

                                             FIRST DISTRICT LAW DIVISION



        LEE MOMEINT
                                                                                         1 6Mi
        Plaintiff

        -v-
        COMCAST CABLE COMMUNICATIONS MANAGEMENT, LLC.

        STELLAR RECOVERY, INC.
        Defendants
                                                                                                °58‘5
                                                                               DEMAND FOR JURY TRIA
                                                                                                ju L6c
                                                                                                     Rs
              1                                                                ,

                                                          COMPLAINT

        Now Comes the Plaintiff, Lee Momient, pro se, and he hereby sues Defendantt ,   MCAS
        CABLE CONIMUNICATIONS MANAGEMENT, LLC. ("CCC")                                AR 1ZEC E Y
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        INC. ( " SRS " ), for violations of the TCPA, and Invasion dtPtiVa cy4rOfot
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                                                                                        tott
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        and in so doing complains as follows:                  .


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                                               PRELIMINARY ST               M                        ■ZA7           ,^-..


        1.            This is anaction for damages and injun tiVe relief brought by Plaintiff against

        Defendants for violations of the Telephone Consumer Protection Act (TCPA) Sec. 227., 47 USC

        § 227(b)(1), 47 USC § 227(a) (iii); and for related tortious acts.

        2.            Upon belie thiff iiit4'
                                         erhtatiOittlaintiffkbp.t4fidg:t hat    I          ema
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        widespread for th
                                                           T                                                ^-^   F-1t       "
        3.            Plaintiff intends to pro p ound discove ry to determine the actual                           atio7is of -       ^   ^
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        the law were committed by the Defendants against the Plaintiff that were notisuce,FOully ci                                   ^
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                                                                                                 ."'
        docuMented by Plaintiff herein, and reserves the right to amend his complaitigto Wide:                              r
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        discovered violations.
     Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 3 of 18 PageID #:9



4. The TCPA is a remedial, private attorney general statute that confers to consumers the

    substantive right to be free of this abusive practice that creates a nuisance in their homes.

    Under the statute, consumers, such as the Plaintiff here, are entitled as a matter of law to seek

    and obtain judgment for minimum statutory damages and injunctive relief against violators.

5. Coi ngress enacted the Telecommunications Privacy Act in 1991. The TCPA prohibits certain

    uses - of telecoininunicatieins equipment that would interfere with telephone service

    subscribers' privacy and/or property rights with respect to their telephone. In particular, the

    TCPA provides that:

           It shall be unlawful for any person within the United States, or any person

           outside the United States if the recipient is within the United States to

           make any call (other than a call made for emergency purposes or made

           with the prior express consent of the called party) using any automatic

           telephone dialing system d. to any telephone number assigned to a           ,

           cellular telephone service ... 47 U.S.C. § 227(b)(1)(A).

6       "Under the TCPA, the term. "automatic telephone dialing system" or "autodialer" is

defined as "equipment which has the capacity - (A) to store or produce telephone numbers to be

called, using a random or sequential number generator; and (8) to dial such numbers." Id. §

227(a)(1), The-Commission has emphasized that this deifnition covers any equipment that has

the specified capacity to generate numbers and dial them without human intervention regardless

of whether the numbers called are randomly or sequentially generated or come from calling lists.

*8' ee kules andRegulations Implementing the Telephone Consumer Protection Act of 1991, CG

Docket No. 02-278, Report and Order, 18 FCC Rcd 14014, 14092, para. 133 (2003) (2003 TCPA

Order). The Commission has, for example, concluded that the scope of that definition



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      Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 4 of 18 PageID #:10


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encompasses "hardware [that], when paired with certain software, has the capacity to store or

produce numbers and dial those numbers at random, in sequential order, or from a database of

numbers, " in light of, among other things, its conclusion that "the purpose of the requirement that

equiprnent have the capacity to store or produce telephone numbers to be called' is to ensure that

the prohibition on autodialed calls not be circumvented. n Id. at 14091-93, paras. 131, 133."

[Quoting, FCC ruling (FCC No. 12-143 A 11 nn. 5) emphasis added]

7.          The TCPA provides telephone service subscribers a private right of action for injunctive

relief and statutory damages for violations:

                A person or entity may ... bring ... an action based on a violation oij47

                U.S.C.§ 227(b)] to enjoin such violation, an action to recover for actual

                monetary loss from such a violation, or to receive $500 in damages for

                each such violation, whichever is greater, or both ... If'the court finds that

                the defendant willfully or knowingly violated [47 U.S.C. § 227(b),] the

                court may, in its discretion, increase the amount of the award to an amount

                equal to not more than 3 times the [statutory] damages available above. 47

                U.S.c. § 227(b)(3).

                                      JURISDICTION AND VENUE

8. Venue in this District is proper in that the Plaintiff is a resident here, the Defendants transact

      business here, and the conduct complained of occurred here.

9.          This is an action for damages which exceed $100,000.00.

                                                  PARTIES

10.         Plaintiff, Lee Momient, is a natural person and is a resident of the-State of Illinois.
      Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 5 of 18 PageID #:11


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11.     1 Upon information and belief Defendants, CCC and SRS are foreign corporations; and

authorized to do business in Illinois and each have a registered agent within this state.

                                       FACTUAL ALLEGATIONS

            a. Allegations of fact specific to Defendant COMCAST CABLE

COMMUNICATIONS MANAGEMENT, LLC. (CCC)

12. On July 10, 2013 the Plaintiff, Lee Momient, phoned COMCAST CABLE

      COMMUNICATIONS MANAGEMENT, LLC and setup an account for internet services.

13.         During that initial phone call the plaintiff was asked for a phone number to be reached at

for installation purposes for the installer to contact the plaintiff upon his or her arrival.

14.         The plaintiff gave his number to the sales person from CCC for the specific and limited

purpose of installation and account identification.

15.         During that same call the plaintiff stated clearly an approximation of the following:

                a. The phone number is a cellular phone and not to be used for collection or any

                    other purpose other than installation and account identiifcation.

16.         Defendant Time Wanrer Cable, via its sales agent, acknowledged that the phone number

was not to be used for collections and only for installation.

17.         Plaintiff timely opted out of any arbitration clauses of the defendants contracts.

18.         Defendant CCC initiated calls to plaintiff's cellular number ending in 3989 on each of

possibly more than 50 times from as early and possibly earlier than September 2013 to as late

and possibly later than, January of 2016.

19.         'The defendant made automated calls for the purposes of collections, sales, and surveys.

20.         The defendnat may have initiated more calls on earlier dates and later dates.
       Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 6 of 18 PageID #:12



21. The Defendant CCC, via its agents, informed the plaintiff that; the phone system is an

      automated billing system; that after a certain amount of time past due the automated system

      will start to automatically make phone calls; the there was no way to stop the automated

      system from making these phone calls; and that the system will leave automated voicemail

      messages as well.

22. Plaintiff on multiple occasions over the time span complained of herein has complained

      directly to the defendant about its use of an auto-dialer; yet the defendant continues to use its

      auto-dialer to call the plaintiff.

23. Based on the plaintiffs own experiences with the defendant the plaintiff is concerned that of

      its millions of customers many thousands, if not all, may be suffering similarly because of

      CCC's inability to curtail its auto-dialer from making unwanted calls.

24. Despite being informed by plaintiff on multiple occasions that his cellular phone number was

      not to be called, the defendant CCC did in fact call as alleged.

25. Defendant CCC may have gone so far as to transmit the cellular phone number of the

      plaintiff to defendant SRS for the purposes of SRS acting as an agent of CCC to continue to

      call plaintiff in violation of the TCPA.

26.       CCC may be the Respondeat Superior of defendant STELLAR RECOVERY

SERVICES, INC.

          b. Allegations of fact specific to Defendant STELLAR RECOVERY SERVICES,

INC. (SRS)

27.       The defendant STELLAR RECOVERY SERVICES is a third party debt collector for

defendant CCC.
       Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 7 of 18 PageID #:13



28. Defendant SRS initiated calls to plaintiff's cellular number ending in 3989 on each of

      possibly more than 30 times from as early and possibly earlier than September 2013 to as late

      and possibly later than, January of 2016.

29. The plaintiff has never given consent or implied consent to defendant SRS to call plaintiffs

      telephone.

30. Upon information, recollection and belief the plaintiff notified defendant SRS that they

      should not call his phone.



      c. Allegations of fact specific to Defendant ALL Defendants

31.       On each of these calls when the phone was answered there would be a several second

pause, or an automated message, indicating the use of an Autodialer and or Automated voice.

32.       On occasions when the calls were answered the Autodialer ended the call and essentially

hung up.

33.       On several occasion Defendants would leave a voicemail message with an automated

voice ,on plaintiff's voicemail.

34.       On occasions the automated dialing system would connect the plaintiff to a representative

of the defendants only after the plaintiff answered the call.

35.       The calls made to the plaintiff cellular phone by the Defendants were not made with the

consent of the called party; the plaintiff.

36. The Defendants would cause the plaintiffs' phone to ring repeatedly often more than once a

      day-and caused more than just a nuisance to the plaintiff while attempting to enjoyhis -

      solitude.
      Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 8 of 18 PageID #:14



37. All telephone contact by Defendant to Plaintiff on his cellular telephone forming the basis for

      this Complaint occurred via an "automatic telephone dialing system," as deifned by 47

      U.S.C. § 227(a)(1), and/or used "an artificial or prerecorded voice" as described in 4715.S.C.

      § 227(b)(1)(A)•

38. The telephone number that Defendnat used to contact Plaintiff, with an "artificial or

      prerecorded voice" made by an "automatic telephone dialing system," were assigned to

      cellular telephone services as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

39. During the transaction that resulted in the alleged debt owed, Plaintiff did not provide

      express consent to receive prerecorded calls by Defendant on his cellular telephone.

40. Plaintiff did not provide "express consent" allowing Defendant to place telephone calls to

      Plaintiffs' cellular telephones utilizing an

      "automatic telephone dialing system," within the meaning of 47 U.S.C. §227(b)(1)(A).

41. Defendants did not make telephone calls to Plaintiffs' cellular telephones "for emergency

      purposes" as described in 47 U.S.C. § 227(b)(1)(A).

42.       Plaintiff suffers from severe back pain from previous injuries that were exacerbated

during each call, each time, by having to reach and or rush to answer calls that were unwanted

and were a nuisance.

43.       Plaintiff has suffered, and defendants are liable for all, actual, statutory, exemplary and

punitive damages awarded in this case, as well as other demands and claims asserted herein

including, but not limited to, exacerbation of physical injuries and illnesses, out-of-pocket

expenses, pain and suffering, inconvenience, loss of happiness, loss of incidental time,

frustration, emotional distress, mental ,anguish, future damages and court costs.
      Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 9 of 18 PageID #:15



                                               COUNT I

      INVASION OF THE RIGHT OF PRIVACY BY INTRUSION UPON SECLUSION

                                        ALL DEFENDANTS

44.     Plaintiff restates and reiterates herein all previous paragraphs.

45.     The Defendants undertook a series of communications to the private home and private

cellphone of the Plaintiff constituting an invasion of privacy by intrusion upon seclusion of

another, as set out and described in the common law of the State of Illinois. Said

communications were harassing, unreasonable, systematic and continuous in number and made

-in disregard for Plaintiffs' right to privacy and seclusion; aftenrepeated, lawful requests that the

Defendants no longer contact him by phone pursuant to the TCPA and common decency. Said

communications were made to intentionally distress, annoy, force, coerce, harass, frighten,

embatrass and/or humiliate the-Plaintiff into'paying an alleged debt.

46.     The actions of the Defendant would be highly offensive or objectionable to any

reasonable person.

47.     Said invasions were 'intentional, Willful, and malicious, and violated the Plaintiffs'

privacy.

48.     Said invasions were a regular, continuous and systematic, harassing and unreasonable

collection effort contrary to the law of the State of Illinois and violated the Plaintiffs' privacy.

49.     Plaintiff avers that the Defendants telephoned the Plaintiff on multiple occasions

demanding payment.

50.     The Plaintiff avers that the communications were made by automated dialers acting on

behalf of defendant without the requisite consent of the plailtiff.
      Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 10 of 18 PageID #:16



51.     Plaintiff suffered anguish, harassment, hounding, exacerbation of existing medical

conditions; exacerbation of existing physical illnesses (herniated disc).

52.     Defendant refused to cease and desistthe -calling; hounding and harassment.

53.     Defendant has continuously and repeatedly called The Plaintiff at home and other places

atfer being told not to call.

54.      The iilaintiff vallinitiate discovery to deterrnine the preCise nurriber of calls initiated to

plaintiffs cellular phone by each defendants Automated Telephone Dialing System.

55.     As a proximate consequence of said invasion of the right of privacy, Defendant has

caused the Plaintiff to suffer great worry, loss of sleep, loss of happiness, anxiety,

embarrassment, nervousness, physical sickness, and physical nad mental injury, pain.



WHEREFORE, Plaintiff demands judgment for damages against DEFENDANTS, severally,

for actual damages in an amount of no less than $300,000.00; for and punitive damages,

attonrey's fees and costs.

ALTERNATIVELY, the defendant CCC may be the RESPONDEAT SUPERIOR for defendant

SRS.

                                               COUNT II

                                   WILLFULL AND KNOWING

                      Violations of the Telephone Consumer Protection Act

                                         ALL DEFENDANTS

56.     Plaintiff incorporates each of the preceding allegation-s as if specifically stated herein:
      Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 11 of 18 PageID #:17



57.      Defendant willingly and knowingly violated 47 U.S.C. § 227(b)(1)(A) several separate

occasions by each time calling Plaintiffs cellular telephone using both an ATDS capable system

and a prerecorded voice without Plaintiffs prior express consent.

58.      Alternatively, the defendant acted negligently when calling in the manner described.

WHEREFORE, As a result of DEFENDANTS knowing and/or willful violations of 47 U.S.C.

§ 227 et seq., Plaintiff is entitled to treble damages of up to $1,500.00 for each and every call in

violation of the statute, pursuant to 47 U.S.C. § 227(b)(3) as well as punitive damages, attorney's

-fees and costs.



Alternatively, in the unlikely event that the violations of Defendants are found to not be

knowing and or willful the plaintiff is entitled to judgment for damages against CCC for the

greater ofactuil damages or statutory damages or$500. 00 per each call in violation of the statute

pursuant to 47 U.S.C. § 227(b)(3); as well as punitive damages, attorney's fees and costs.

ALTERNATIVELY, the defendant CCC may be the RESPONDEAT SUPERIOR for defendant

SRS.

                                             COUNT III

                                  WILLFULL AND KNOWING

                     Violations of th.e Telephone Consumer Protection•Act

                                       ALL DEFENDANTS

59.     Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

60.     Defendant willingly and knowingly violated 47 U.S.C. § 227(1:4 (1)(A) on several

separate occasions by each time calling Plaintiffs cellular telephone using both an ATDS capable

system without Plaintiffs prior express consent.
      Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 12 of 18 PageID #:18



61.       Alternatively, the defendant acted negligently when calling in the manner described.

      WHEREFORE, As a result of DEFENDANTS knowing and/or willful violations of 47

      U.S.C. § 227 et seq., Plaintiff is entitled to treble damages of up to $1,500.00 for each and

      every call in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3) as well as punitive

      damages, attonrey's fees and costs.



      Alternatively, in the unlikely event that the violations of CCC are found to not be knowing

      and or willful the plaintiff is entitled to judgment for damages against CCC for the greater of

      actual damages or statutory damages of$500.00-per each call in violation of the statute

      pursuant to 47 U.S.C. § 227(b)(3); as well as punitive damages, attorney's fees and costs.

      ALTERNATIVELY, the defendant CCC may be the RESPONDEAT SUPERIOR for

      -defendant SRS.



                                               COUNT IV

                                    WILLFULL AND KNOWING

                        Violations of the Telephone Consumer Protection Act

                                         ALL DEFENDANTS

62.       Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

63.      -Defendant willingly and knowingly violated-a regulation prescribed under 47 U.S.C. §

227(b), namely C.F.R. 64.1200(b)(1), each, of nearly, and possibly more than, 40 separate

occasions by each time leaving a prerecorded telephone message in Plaintiffs voicemail that did

not clearly state the name under which Defendant was registered to conduct business.

64.       Alternatively, the defendant acted negligently when calling in the manner described.
      Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 13 of 18 PageID #:19




      WHEREFORE, As a result of DEFENDANTS knowing and/or willful violations of 47

      U.S.C. § 227 et seq., Plaintiff is entitled to treble damages of up to $1,500.00 for each and

      every call in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3) as well as punitive

      damages, attonrey's fees and costs.



      Alternatively, in the unlikely event that the violations of CCC are found to not be knowing

      and or willful the plaintiff is entitled to judgment for damages against CCC for the greater of

      actual damages or statutory damages of $500.00 per each call in violation of the statute

      pursuant to 47 U.S.C. § 227(b)(3); as well as punitive damages, attomey's fees and costs.

      ALTERNATIVELY, the defendant CCC may be the RESPONDEAT SUPERIOR for

      defendant SRS.

                                   COUNT V
      VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT (FDCPA), 15 U.S.C.
                           §1692 BY DEFENDANT SRS


65.      Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

66.      Plaintiff is a consumer under § 1692 a(3).

67.      The alleged debt was an obligation under § 1692 a(5).

68.      SRS is Debt Collector under § 1692 a(6).

69.      DEFENDANT placed no less than 15 telephone calls to the Plaintiff's cellular telephone

after being notified by phone that the calls were to a cell phone and were demanded to cease and

desist or otherwise informed that there was no consent to call said number. Defendant knew or

should have known that the phone calls made were inconvenient to the consumer. Such
       Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 14 of 18 PageID #:20



 communications are prohibited by 15 U.S.C. § 1692c(a)(1). Defendant demnads of each

 defendant $1000.

 70,      SRS-continued collection activity-after receiving notice , of dispute, and failed to provide

 written validation of debt before resuming collection activities, in violation of 15

 U.S.C.§1692g(b). Defendant demands of each defendant $0000.

 71.      -SRS violated §1692e (-10) by the use of any false'representation or deceptive means to

 collect or attempt to collect any debt or to obtain information concenring a consumer. Plaintiff

 demands judgment of each defendant in the amount of $1000.

 72.      SRS violated § 1692 d by conduct the natural consequence of Which is to harass, oppress,

 or abuse any person. Plaintiff demands judgment of each defendant in the amount of $1000.

 73.      SRS violated § 1692 d(5) and Caused the phone to ring or engaged any person in

 telephone conversations repeatedly. Plaintiff demands judgment of each defendant in the amount

 of $1000.

 74.      SRS violated § 1692 f(1) by Attempting to collect any amount not authorized by the

 agreement creating the debt or permitted by law. Plaintiff demands judgment of each defendant

 in the amount of $1000.

 75.      SRS violated § 1692 e(11) by Communication that failed to contain the mini-Miranda

 warning: "This is an attempt to collect a debt ... communication is from a debt collector."

 Plaintiff demands judgment of each defendant in the amount of $1000.

 76.      SRS violated § 1692 d(6) by placing telephone calls without disclosing his/her identity.

-Pfaintiffdemands judgment of each defendnat in the amount of $1000.

       WHEREFORE, Plaintiff demands judgment for damages against SRS for actual or statutory

       damages, and punitive damages, future damages, attorney's fees and costs.
      Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 15 of 18 PageID #:21



                                                 COUNT VI


                                   DECEPTIVE TRADE PRACTICES


                                              Defendant CCC


77. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

78. Plaintiff is a consumer. Defendant is a telecommunications corporation governed by state and

      federal laws; and or collection agency's covered by state and federal laws.


79. In connection with a consumer transaction, defendant engaged in unfair and deceptive

      practices, prohibited by Illinois law, aimed at causing substantial harm to the plaintiff.


80. Defendant succeeded in damaging the plaintiff through these unfair and deceptive trade

      practices as described herein.



      WHEREFORE, Plaintiff demands judgment for damages against SRS for actual or statutory

      daMages, and punitive damages, future damages, attonrey's fees and costs.

                                                COUNTNII

                                            INJUCTIVE REIEF

                                          47 U.S.C. § 227(c)(5)(A)

                                           ALL DEFENDANTS



81.      Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

82. The plaintiff has been repeatedly harmed by the actions of the defendant as complained of

      herein.
    Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 16 of 18 PageID #:22



83. Based on the statements and or action and or omissions of CCC and SRS it is evident that the

   DEFENDANTS simply do not have a system in place to both accept phone numbers as

   identiifers, but not use them with their automated system when requested to not do so.

84. Pursuant to 47 U.S.C. § 227(c)(5)(A) the plaintiff is entitled to injunctive relief.

85. Under traditional principles of equity, to receive a preliminary injunction a plaintiff must

   prove that it -win stiffer iiTeparable harm ff the injunction is denied. However, where the

   plaintiff seeks an injunction to prevent the violation of a federal statute that specifically

   provides for injunctive relief, it need not show irreparable harm. In re Chicago, Milwaukee,

   St. Paul andPacific Railroad Co., 738 E2d 209, 212- 213 (7th-Cir.1984)' (permanent

    injunction).

86. In Newman v. Piggie Park Enterprises, Inc., 390 U.S. 400, 402 (1968) the Supreme Court

   noted that when a plaintiff in this situation obtains an injunction, "he does so not for himself

   alone, but also as a 'private attorney general,' vindicating a policy that Congress considered

   of the highest priority." The Supreme Court also held that, "[t]his and other federal courts

   have repeatedly held that individual litigants, acting as private attorneys 7general, may have

    standing as "representatives of the public interest." Flast v. Cohen, 392 U.S: 83, 120 (1968)



   WHEREFORE , the plaintiff prays that this court grant a temporary restraining order and

   permanent injunction, restraining the defendant COMCAST CABLE COMMUNICATIONS

   MANAGEMENT, LLC. and Stellar Recovery Services, INC. from using their automated

   telephone dialing systems to rnake calls to-the plaintiff cellular phone numbers, as well as to

    any and all other customers of COMCAST CABLE COMMUNICATIONS

   MANAGEMENT, LLC. and debtors of Stellar Recovery Services, INC.
        Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 17 of 18 PageID #:23



                                                  COUNT VIII

                                         RESPONDEAT SUPERIOR

                                              DEFEN-DANT CCC



    87. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

    88. The defendant SRS may have been acting as an agent or otherwise controller of defendant

        CCC.

    89. The defendant CCC may then be held vicariously liable for the actions and omissions of

        defendant SRS under the claim of Respondeat Superior.

    90. Wherefore, if it is-found that defendant-CCC is/was the master or controller of defendant

        SRS, the plaintiff prays then that this court hold defendant CCC liable for all damages

        awarded to defendant for the actions and commission of the defendant SRS.




    WHEREFORE, PLAINTIFF, LEE MOMIENT, PRAYS that after all due proceedings are had
    there be Judgment herein in favor of Plaintiffs and against related Defendants, on ALL COUNTS
    as follows:

    That there be Judgment herein in favor of Plaintiff, LEE MOMIENT, and against CCC and SRS,
    for all reasonable damages sustained by Plaintiff, including, but not limited to, statutory
    damages, treble statutory damages, compensatory damages associated with the costs of out-of-
    pocket expenses, gross exacerbation of existing physical injury, embarrassment, inconvenience,
    loss of incidental time, frustration, emotional distress, aggravation, and for punitive damages,
    attorney fees, costs incurred, future damages and court costs, and other assessments proper by
    law and any and all other applicable federal and state laws, together with legal interest thereon
    from date of judicial demand until paid in full.

    PLAINTIFF FURTHER PRAYS for any and all general, equitable and necessary relief.

    Plaintiff hereby demands a trial by jury of all issues so triable as a matter of law.




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    Case: 1:16-cv-02856 Document #: 1-1 Filed: 03/04/16 Page 18 of 18 PageID #:24



Plaintiff hereby demands that defendant preserve any and all evidence related to the matters
herein stated including any and all recording of telephone communication between the plaintiff
and defendant.

Lee Momient
                                  02/02/2016
P.O. Box 61808
Chicago, I . 60660
773-712-2076



This action is for damages greater than     ,000,

Service List:

COMCAST
THE CORPORATION COMPANY
118 W EDWARDS ST STE 200
SPRINGFIELD 62704

STELLAR RECOVERY, INC.
BUSINESS FILINGS INCORPORATED
118 W EDWARDS ST, STE 200
SPRINGFIELD 62704
